                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN



 JOY GLOBAL INC. (n/k/a KOMATSU
 MINING CORP.),
                                                               Civil Action No.: 18-2034
         Plaintiff,
                                                               ANSWER AND AFFIRMATIVE
            v.                                                 DEFENSES OF DEFENDANT ARCH
                                                               INSURANCE COMPANY
 COLUMBIA CASUALTY COMPANY,
 ARCH INSURANCE COMPANY, and
 TRAVELERS CASUALTY AND SURETY
 COMPANY OF AMERICA,
                                                               JURY TRIAL DEMANDED
         Defendants.



       Defendant Arch Insurance Company (“Arch”), by and through its counsel, and for its Answer

and Affirmative Defenses to the Complaint filed by Plaintiff Joy Global, Inc. (“Joy Global” or

“Plaintiff”), denies each and every allegation of the Complaint not specifically admitted below, and

further states as follows:

                                     NATURE OF THE ACTION

       1.        This is an action for declaratory relief and money damages for breach of contract

and breach of the implied covenant of good faith and fair dealing against defendants, who are

insurance companies that have wrongfully refused to provide insurance coverage to plaintiff,

their insured, for liabilities and defense costs arising out of and relating to underlying securities

claims. As indicated below, the defendants sold their insurance policies to plaintiff on the basis

of express representations that the policies would cover liabilities of the sort at issue in this case,

and now that plaintiff has paid its insurance premiums, been subjected to underlying claims, and

suffered the covered defense costs and liabilities at issue, they have wrongfully and unjustly

denied coverage.

       ANSWER: Arch admits that the defendants are insurance companies and that Joy

Global has filed this action alleging causes of action for declaratory judgment and breach of
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contract against all defendants, and a cause of action for breach of an implied covenant of good

faith and fair dealing against Columbia Casualty Company (“Columbia Casualty”). Arch denies

the remaining allegations of Paragraph 1.

        2.     Plaintiff Joy Global Inc. (“Joy Global”), now known as Komatsu Mining Corp., is

a manufacturer and servicer of heavy mining equipment headquartered in Milwaukee,

Wisconsin. Joy Global’s history of manufacturing and employing people in Milwaukee, and

elsewhere in the United States and overseas, dates back over 130 years to the 1880s. In April

2017, Joy Global was acquired by Komatsu America Corp. (“KAC”) and renamed Komatsu

Mining Corp. In connection with its sale to KAC, Joy Global and various of its officers and

directors were named as defendants in a series of eight lawsuits (collectively, the “Securities

Claims”) filed by Joy Global shareholders, who claimed that Joy Global and its officers breached

fiduciary duties, made material misrepresentations and nondisclosures, and committed other

wrongs in connection with the sale of Joy Global to KAC.

      ANSWER: Arch admits that Joy Global and various of its officers and directors were

named as defendants in a series of eight lawsuits, which Joy Global refers to in the Complaint as

the “Securities Claims.” Joy Global has attempted to summarize the allegations of those

lawsuits, but Arch denies that Joy Global has done so accurately and/or completely. Arch refers

to the filings in those lawsuits for a full and complete statement of their contents. Arch denies

any characterizations by Joy Global that are inconsistent with the filings in those lawsuits. Arch

lacks knowledge or information sufficient to form a belief about the truth of the remaining

allegations of Paragraph 2.

          3.     Defendants Columbia Casualty Company (“CNA”), Arch Insurance Company

  (“Arch”), and Travelers Casualty and Surety Company of America (“Travelers,” and collectively

  with CNA and Arch, the “Insurers”) are insurance companies that sold directors and officers

  (“D&O”) liability insurance policies to Joy Global, in which they promised to pay on behalf of

  Joy GlobalCase
             and its2:18-cv-02034-LA
                     directors and officersFiled  03/05/19
                                            the liabilities and Page  2 costs
                                                                defense of 46that
                                                                               Document
                                                                                  Joy Global8has
  incurred, and is continuing to incur, in connection with the Securities Claims. Insurers have

  breached these commitments and, in the case of CNA, have breached the implied covenant of

  good faith and fair dealing that is an essential component of every insurance policy in Wisconsin.

      ANSWER: Arch admits that Columbia Casualty, Arch and Travelers are insurance

companies that issued certain insurance policies to Joy Global. Arch refers to those policies for

a full and complete statement of their contents. Arch denies any characterizations by Joy Global

that are inconsistent with the policies. Arch denies the remaining allegations of Paragraph 3.

         4.       Specifically, as Joy Global’s primary insurer, CNA induced Joy Global to buy

  the CNA policy (and the follow-form Arch and Travelers excess policies) at issue:

              a. very shortly after the Joy Global transaction was announced in July

                  2016, and with the knowledge and expectation that claims of the sort

                  pleaded in the Securities Claims were likely to be brought against Joy

                  Global;

              b. through representations that led, and were designed to lead, Joy

                  Global to understand that its liabilities and defense costs in connection

                  with the Securities Claims would be insured; and

              c. for double the premium that CNA otherwise would have charged Joy

                  Global, if Joy Global had bought the policy without CNA’s insistence

                  that claims like those pleaded in the Securities Claims were likely to

                  ensue and its assurance that they would be covered under the CNA

                  policy.

      ANSWER: Arch denies the allegations of Paragraph 4 insofar as they pertain to Arch.

Arch lacks knowledge or information sufficient to form a belief about the truth of the remaining

allegations of Paragraph 4.

         5.       Joy Global now brings this action to vindicate its rights under the Insurers’
             Case
  policies and    2:18-cv-02034-LA
               Wisconsin law; to recoverFiled  03/05/19
                                        its losses resultingPage
                                                             from3the
                                                                    of Insurers’
                                                                        46 Document
                                                                                 breaches8of the
  insurance policies that they sold to Joy Global; and to recover damages for CNA’s violation of

  its duty of good faith and fair dealing toward Joy Global.

       ANSWER: Arch admits that Joy Global has filed this action and purports to seek

declaratory relief and damages pursuant to the causes of action asserted. Arch denies that it is

liable to Joy Global under any cause of action, denies that Joy Global is entitled to any relief

whatsoever, and denies the remaining allegations of Paragraph 5.

                                           THE PARTIES

            6.      Plaintiff Joy Global Inc. (“Joy Global”), now known as Komatsu Mining Corp.,

  is a corporation organized under the laws of Delaware with its principal place of business in

  Milwaukee, Wisconsin. Joy Global is a manufacturer and distributor of mining equipment,

  systems, and services.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 6.

       7.         Defendant Columbia Casualty Company (“CNA”), a wholly owned subsidiary of

CNA Financial Corporation, is a corporation organized under the laws of Illinois with its principal

place of business in Chicago, Illinois. CNA is engaged in the insurance business in Wisconsin, and

it issued the CNA insurance policy at issue to Joy Global in Milwaukee, Wisconsin.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 7.

       8.         Defendant Arch Insurance Company (“Arch”) is a corporation organized under the

laws of Missouri with its principal place of business in Jersey City, New Jersey. Arch is engaged

in the insurance business in Wisconsin and issued the Arch insurance policy at issue to Joy

Global in Milwaukee, Wisconsin.

       ANSWER: Arch admits the allegations of Paragraph 8.

       9.         Travelers Casualty and Surety Company of America (“Travelers”) is a
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 corporation organized under the laws of Connecticut with its principal place of business in

 Hartford, Connecticut. Travelers is engaged in the insurance business in Wisconsin and issued

 the Travelers insurance policy at issue to Joy Global in Milwaukee, Wisconsin.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 9.

                                   JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction over this action under 28 U.S.C.

 § 1332(a) because the citizenship of the parties is diverse and the amount in controversy exceeds

 $75,000, exclusive of interest and costs.

       ANSWER:         Arch does not dispute subject-matter jurisdiction.

       11.     This Court has personal jurisdiction over each of the Insurers because each Insurer

engages in the insurance or other business in Wisconsin; is licensed to transact insurance business

in Wisconsin; sold and/or delivered one of the insurance policies at issue to Joy Global in

Wisconsin; and/or contracted to insure Joy Global for loss in Wisconsin, including the losses

complained of in this action.

      ANSWER: Arch does not dispute personal jurisdiction.

       12.        Venue is proper in this district under 28 U.S.C. § 1391(a)-(b) because this district

has personal jurisdiction over all named defendants; the insurance policies at issue were sold and

issued to a Wisconsin resident in this district; and a substantial part of the events or omissions

giving rise to the pleaded claims occurred in this district.

       ANSWER: Arch does not dispute that venue is proper in this district.

                                                 FACTS

 A.       Joy Global’s Sale to Komatsu and the Ensuing Securities Claims

       13.     Joy Global is a Milwaukee-based manufacturer of mining equipment and provider of

mining-related systems and services whose history in Milwaukee dates back to the 1880s.
             Case 2:18-cv-02034-LA Filed 03/05/19 Page 5 of 46 Document 8
      ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 13.

       14.     In January 2016, Komatsu America Corp. (“KAC”) approached Joy Global to

discuss the potential merits of a combination between the two companies. Following the

completion of a financial analysis conducted by Goldman Sachs and after months of

negotiations, KAC and Joy Global entered into an agreement, dated July 21, 2016, pursuant to

which KAC committed to acquire Joy Global.

      ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 14.

       15.     That same day, Joy Global publicly announced that it had agreed to be acquired

by KAC and informed investors that it would file a proxy statement with information about the

proposed transaction. Joy Global’s Form 8-K announcing the proposed transaction was

accompanied by a copy of the parties’ acquisition agreement, a press release, and an investor

presentation regarding the proposed transaction.

      ANSWER: Arch admits that Joy Global filed an 8-K dated July 21, 2016. Joy Global

has attempted to summarize the 8-K, but Arch denies that Joy Global has done so accurately

and/or completely. Arch refers to the 8-K for a full and complete statement of their contents.

Arch denies any characterizations by Joy Global that are inconsistent with the 8-K.

       16.     On August 15, 2016, Joy Global filed a preliminary proxy statement with the United

States Securities and Exchange Commission (“SEC”), and on September 2, 2016, Joy Global filed

a definitive proxy statement. Both proxy statements contained extensive disclosures of the analysis

undertaken and the information considered by Joy Global’s board of directors in approving the

company’s proposed sale to KAC. The proxy statements further disclosed the success fee that

would be due to Goldman Sachs, and the compensation and benefits that would be due to certain

Joy Global directors and officers, if the transaction were consummated.
             Case 2:18-cv-02034-LA Filed 03/05/19 Page 6 of 46 Document 8
       ANSWER: Arch admits the allegations of the first sentence of Paragraph 16. Joy

Global has attempted to summarize the proxy statements, but Arch denies that Joy Global has

done so accurately and/or completely. Arch refers to the proxy statements lawsuits for a full

and complete statement of their contents. Arch denies any characterizations by Joy Global that

are inconsistent with the proxy statements.

       17.        Over the course of the next two months, several Joy Global shareholders filed a

series of eight putative class-action lawsuits against the company and various of its directors and

officers challenging the transaction, alleging breaches of fiduciary duty and that disclosures made

in proxy statements omitted material information and thus were false and misleading in violation

of federal and/or state law. Seven of these lawsuits were filed in this Court (the United States

District Court for the Eastern District of Wisconsin), and the eighth was filed in the Milwaukee

County Circuit Court. Listed chronologically by date of filing, these eight civil suits (the

“Securities Claims”) are:

             a.     Oduntan v. Joy Global Inc., No. 16-cv-1136, filed August 24, 2016, in

                    the United States District Court for the Eastern District of Wisconsin;

              b. Soffer v. Doheny, No. 16-cv-1148, filed August 26, 2016, in the United

                    States District Court for the Eastern District of Wisconsin;

              c. Garfield v. Joy Global Inc., No. 16-cv-6588, filed on August 26,

                    2016, in the Milwaukee County Circuit Court in Wisconsin;

              d. Gordon v. Joy Global Inc., No. 16-cv-1153, filed August 26, 2016, in

                    the United States District Court for the Eastern District of Wisconsin;

              e. Rote v. Joy Global Inc., No. 16-cv-1186, filed September 2, 2016, in

                    the United States District Court for the Eastern District of Wisconsin;

              f. Tansey v. Joy Global Inc., No. 16-cv-1201, filed September 6, 2016, in

                    the United States District Court for the Eastern District of Wisconsin;
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             g. McGregor v. Joy Global Inc., No. 16-cv-1213, filed September 8,

                 2016, in the United States District Court for the Eastern District of

                 Wisconsin; and

             h. Duncan v. Joy Global Inc., No. 16-cv-1229, filed September 13,

                 2016, in the United States District Court for the Eastern District of

                 Wisconsin.

      ANSWER: Arch admits that Joy Global and various of its officers and directors were

named as defendants in a series of eight lawsuits listed in Paragraph 17, which Joy Global refers

to in the Complaint as the “Securities Claims.” Joy Global has attempted to summarize the

allegations of those lawsuits, but Arch denies that Joy Global has done so accurately and/or

completely. Arch refers to the filings in those lawsuits for a full and complete statement of their

contents. Arch denies any characterizations by Joy Global that are inconsistent with the filings

in those lawsuits. Arch denies the remaining allegations of Paragraph 17.

       18.     Each of the Securities Claims named as defendants Joy Global Inc., Edward Doheny

(Joy Global’s CEO), John Hanson (Chair of Joy Global’s Board of Directors), and Joy Global

directors Steven Gerard, Mark Gliebe, John Gremp, Gale Klappa, Richard Loynd, P. Eric Siegert,

and James Tate. Several of the Securities Claims also named other defendants: KAC was named in

Soffer, Garfield, and McGregor; Komatsu Ltd. (KAC’s parent) was named in Garfield and

McGregor; Pine Solutions Inc. (a corporate vehicle used to effect the transaction) was named in

Soffer and McGregor; and Goldman Sachs and John Does 1-5 (employees at Goldman Sachs) were

named in McGregor.

      ANSWER: Arch admits that Joy Global has attempted to summarize the allegations of

the lawsuits that it refers to in the Complaint as the “Securities Claims,” but Arch denies that

Joy Global has done so accurately and/or completely. Arch refers to the filings in those lawsuits

for a full and complete statement of their contents. Arch denies any characterizations by Joy
             Case 2:18-cv-02034-LA Filed 03/05/19 Page 8 of 46 Document 8
Global that are inconsistent with the filings in those lawsuits. Arch denies the remaining

allegations of Paragraph 18.

       19.     All of the Securities Claims except Garfield alleged violations of Sections 14(a)

and 20(a) of the Securities Exchange Act of 1934, as well as SEC Rule 14a-9. Soffer also

alleged breach of fiduciary duty. Garfield, the sole state court action, exclusively alleged

breaches of various fiduciary duties.

      ANSWER: Arch admits that Joy Global has attempted to summarize the allegations of

the lawsuits that it refers to in the Complaint as the “Securities Claims,” but Arch denies that

Joy Global has done so accurately and/or completely. Arch refers to the filings in those lawsuits

for a full and complete statement of their contents. Arch denies any characterizations by Joy

Global that are inconsistent with the filings in those lawsuits. Arch denies the remaining

allegations of Paragraph 19.

       20.     All of the Securities Claims alleged that, by failing to disclose material information

in the proxy statements, Joy Global had deprived its shareholders of their right to make an

informed decision about whether to approve the company’s sale to KAC. Certain of the Securities

Claims further alleged that some Joy Global officers were conflicted and/or breached their

fiduciary duties to the shareholders because, among other reasons, they stood to receive “golden

parachutes” or other payments if the transaction were consummated.

      ANSWER: Arch admits that Joy Global has attempted to summarize the allegations of

the lawsuits that it refers to in the Complaint as the “Securities Claims,” but Arch denies that

Joy Global has done so accurately and/or completely. Arch refers to the filings in those lawsuits

for a full and complete statement of their contents. Arch denies any characterizations by Joy

Global that are inconsistent with the filings in those lawsuits. Arch denies the remaining

allegations of Paragraph 20.

       21.     Plaintiffs in the Securities Claims listed above (see supra, ¶ 17) sought to prevent the
              Case
transaction from   2:18-cv-02034-LA
                 occurring.                Filed
                            Specifically, on     03/05/19
                                             September      Pagethe
                                                       15, 2016,  9 of 46 Document
                                                                    plaintiff in Oduntan8moved for
a preliminary injunction, seeking to enjoin the shareholder vote on whether to approve the

transaction. Plaintiffs in several of the other six federal actions subsequently joined in the Oduntan

motion, and on September 23, 2016, the plaintiff in Garfield, the only case filed in state court,

likewise moved for a temporary injunction to enjoin the shareholder vote.

       ANSWER: Arch admits that Joy Global has attempted to summarize the allegations of

the lawsuits that it refers to in the Complaint as the “Securities Claims,” but Arch denies that

Joy Global has done so accurately and/or completely. Arch refers to the filings in those lawsuits

for a full and complete statement of their contents. Arch denies any characterizations by Joy

Global that are inconsistent with the filings in those lawsuits. Arch denies the remaining

allegations of Paragraph 21.

       22.     As part of an agreement to settle seven of the Securities Claims (i.e., all of the suits

except the Duncan suit, see supra, ¶ 17(a)-(g)), Joy Global filed agreed-upon additional

disclosures on September 29, 2016, and October 3, 2016. Joy Global further agreed to pay

confidential sums to plaintiffs’ counsel in these seven actions. Accordingly, on October 7, 2016,

the first seven Securities Claims were settled and dismissed with prejudice, pursuant to a

stipulated order, leaving only the Duncan action as a pending suit.

       ANSWER: Arch admits that the lawsuits listed in Paragraph 17, which Joy Global refers

to in the Complaint as the “Securities Claims,” other than the lawsuit styled Duncan v. Joy

Global Inc., No. 16-cv-1229, were dismissed on or around October 7, 2016. Arch lacks

knowledge or information sufficient to form a belief about the truth of the first sentence of

Paragraph 22. Arch denies the remaining allegations of Paragraph 22.

       23.     On October 19, 2016, Joy Global’s sale to KAC was approved at a special

meeting of Joy Global’s shareholders, and on April 5, 2017, the transaction closed.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 23.
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       24.     Three weeks later, on April 26, 2017, the plaintiffs in the Duncan action filed an

Amended Complaint, alleging revised claims against Joy Global and various of its officers for

allegedly misleading statements and omissions in violation of Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 and SEC Rule 14a-9 thereunder. The Duncan plaintiffs further

alleged that certain of the individual defendants had breached their duties of loyalty and/or

situational fiduciary duties in connection with the transaction, and they demanded compensatory

and rescissory damages and other relief.

      ANSWER: Arch admits that the plaintiffs in the Duncan action filed an Amended

Complaint on or around April 26, 2017. Arch further admits that Joy Global has attempted to

summarize the Amended Complaint, but denies that Joy Global has done so accurately and/or

completely. Arch refers to the Amended Complaint for a full and complete statement of its

contents. Arch denies any characterizations by Joy Global that are inconsistent with the

Amended Complaint. Arch denies the remaining allegations of Paragraph 24.

       25.     Following fully briefed motions to dismiss and extended negotiations, on March

23, 2018, the Duncan plaintiffs and Joy Global filed before this Court a Notice of Settlement, and

on May 23, 2018, they followed up that Notice by filing a Stipulation of Settlement, pursuant to

which they confirmed Joy Global’s agreement to pay $20 million in full and final resolution of

the Duncan claims, inclusive of plaintiffs’ attorney fees and with no admission of liability. This

Court granted preliminary approval of the Duncan settlement on September 14, 2018; Joy Global

subsequently paid the $20 million settlement amount into escrow pursuant to the Stipulation of

Settlement; and on December 20, 2018, the Court approved the Duncan settlement.

      ANSWER: Arch admits that the parties to the lawsuit styled Duncan v. Joy Global Inc.,

No. 16-cv-1229, filed a notice of settlement on or about March 23, 2018 and a stipulation of

settlement on or about May 23, 2018. Arch further admits that the Court granted preliminary

approval of the referenced settlement on September 14, 2018 and granted final approval of the
          Case 2:18-cv-02034-LA
Duncan Settlement                   Filed
                  on December 20, 2018.   03/05/19
                                        Arch          Page that
                                             further admits 11 of 46Global
                                                                Joy   Document     8
                                                                           has attempted
to summarize the stipulation of settlement, but denies that Joy Global has done so accurately

and/or completely. Arch refers to the stipulation of settlement for a full and complete statement

of its contents. Arch denies any characterizations by Joy Global that are inconsistent with the

stipulation of settlement. Arch is without knowledge or information sufficient to form a belief

about the truth of the remaining allegations of Paragraph 25.

  B.      The Underwriting of the Joy Global Insurance Policies

        26.     Like many publicly traded companies, prior to its sale to KAC, Joy Global

maintained a D&O liability insurance program to protect itself and its individual directors and

officers against the risk of securities claims. Joy Global shopped for and purchased its D&O

insurance, on an annual basis through policies with annual policy periods, with the active advice

and assistance of experienced and professional insurance brokers. At the time relevant to its sale to

KAC and the Securities Claims at issue here, Joy Global’s D&O policies had an annual renewal

date of July 31, meaning that Joy Global needed to purchase new coverage to take effect on July

31 each year for the ensuing 12 months.

        ANSWER: Arch admits that Joy Global purchased directors and officers liability

insurance policies. Arch refers to those policies for a full and complete statement of their

contents. Arch denies any characterizations by Joy Global that are inconsistent with the

policies. Arch lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations of Paragraph 26.

        27.     Accordingly, on July 21, 2016, when Joy Global publicly announced that it had

agreed to its sale to KAC, it was only ten days away from its D&O insurance program’s annual

renewal date. In fact, by that date (July 21, 2016), CNA, Arch, and Travelers had already

committed to (i.e., “bound”) coverage for the upcoming 2016-2017 policy year, and to renew the

expiring coverage that CNA, Arch, and Travelers previously had issued for the 2015-2016 policy

year.
              Case 2:18-cv-02034-LA Filed 03/05/19 Page 12 of 46 Document 8
      ANSWER: Arch admits that July 21, 2016 was ten days away from July 31, 2016 and

that as of July 21, 2016, Arch had bound coverage for the 2016-2017 policy period to renew the

expiring coverage Arch previously had issued for the 2015-2016 policy period. Arch further

admits that CNA had bound coverage for the 2016-2017 policy period to renew the expiring

coverage it previously had issued for the 2015-2016 policy period. Arch lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of Paragraph

27.

       28.     Because the insurance binder required Joy Global to report any material changes in

conditions, Joy Global informed CNA of the proposed transaction through its brokers at Marsh

LLC (“Marsh”), on July 21, 2016 (i.e., on the same day that Joy Global publicly announced the

transaction), and Joy Global asked CNA, Arch, and Travelers to confirm that they would still issue

the renewal coverage, as previously bound.

      ANSWER: Arch admits that Joy Global’s broker sent correspondence to Arch about the

renewal coverage after July 21, 2016. To the extent that Joy Global is attempting to summarize

that correspondence, Arch denies that Joy Global has done so accurately and/or completely.

Arch refers to that correspondence for a full and complete statement of its contents. Arch denies

any characterizations by Joy Global that are inconsistent with the correspondence. Arch lacks

knowledge or information sufficient to form a belief about the truth of the remaining allegations

of Paragraph 28.

       29.     CNA declined. Specifically, on or around July 27, 2016, CNA expressed its

understanding and expectation that a securities claim would be asserted against Joy Global in

connection with the planned transaction (as is now typical, in connection with the planned sale of

nearly any publicly traded company in the United States), and CNA stated that it was aware of at

least seven law firms that were investigating and considering bringing such claims relating to the

sale of Joy Global to KAC. According to CNA, the announced sale thus represented a changed
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circumstance (i.e., a heightened risk factor) that required different treatment or pricing than the

parties previously had discussed for the renewal of Joy Global’s D&O coverage.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 29.

       30.     Importantly, at no time during these renewal discussions did CNA indicate that it was

unwilling or unable to renew or extend Joy Global’s coverage because of its expectation that

Joy Global would face a securities claim. Nor did CNA indicate at any point in these discussions

that it would not cover a securities claim relating to the announced transaction. On the contrary,

CNA made material representations to Joy Global, through Marsh, that actually and reasonably

induced Joy Global to believe that CNA would cover securities claims relating to the transaction,

either through its expiring 2015-2016 policy or through a 2016-2017 renewal.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 30.

       31.     Specifically, when a suggestion was made that Joy Global could submit to CNA,

under its then-expiring 2015-2016 D&O policy, a “notice of circumstance” regarding the

potential sale to KAC, CNA confirmed that it would accept such a “notice of circumstance”

under the expiring policy. The effect of such “notice of circumstance,” if provided by Joy Global,

would have been to trigger coverage, under the expiring 2015-2016 policy, for any securities

claim that might arise out of the announced sale later (i.e., even after expiration of the 2015-2016

policy period). If Joy Global were to choose this option, CNA indicated that it would not issue a

new limit of liability for the 2016-2017 policy year; instead, and for an additional premium, it

would only extend the otherwise-expiring policy for six months or until the close of the sale.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 31.

       32.     In proposing this “notice of circumstance” solution, CNA indicated both that (a) it
            Case
considered the    2:18-cv-02034-LA
               threat of securities claimsFiled  03/05/19
                                           relating          Page 14sufficiently
                                                    to the acquisition of 46 Document     8 a
                                                                                 specific for
“notice of circumstance” to be appropriate to “lock in” coverage under the expiring policy, and (b)

it considered the expiring policy, if extended (as CNA was proposing) through the date of closing,

to provide coverage for such claims. Otherwise, CNA’s proposal would have made no sense and

offered no solution to the specific risk that the parties were discussing: the risk of securities claims

arising from the announced sale to KAC.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 32.

       33.     As an alternative to its “notice of circumstance” proposal, CNA indicated that if Joy

Global refrained from submitting a notice of circumstance under the expiring CNA policy (i.e., so

that expiring policy would not be exposed to transaction-related claims), then CNA would be

willing to renew its policy for the 2016-2017 policy year with a new coverage limit. Under this

proposal, however, CNA would require Joy Global to pay double its base premium: $236,250 for a

renewal of the expiring policy and another $236,250 for a “run-off endorsement” that would

extend, for an additional period of years, coverage for securities claims specifically arising from

Joy Global’s sale to KAC.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 3.

       34.     CNA led Joy Global and Marsh to believe, and Joy Global and Marsh did actually

and reasonably believe, that paying a 200% premium for a renewal policy plus a “run-off

endorsement” would provide Joy Global with coverage in the event of a securities claim arising

out of its sale to KAC, and CNA knew that Joy Global was seeking to renew its coverage (a) with

the expectation that it would soon be sold and (b) for the express and primary purpose of securing

coverage for transaction-related claims.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 34.
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       35.     In reliance on CNA’s representations and in response to its proposals, Joy Global

chose not to submit a notice of circumstance under the expiring CNA policy and elected instead to

purchase from CNA, for a double premium, a new 2016-2017 policy with a “run-off endorsement”

(Endorsement No. 3) extending coverage for claims relating to the envisioned sale. CNA thus

issued Policy No. 28704981 to Joy Global, effective July 31, 2016 (the “CNA Policy”). The CNA

Policy, a true and correct copy of which is appended hereto as Exhibit A, provides $10 million of

coverage to Joy Global in excess of a $1.5 million self-insured retention.

      ANSWER: Arch admits that Exhibit A is a true and accurate copy of the policy that

CNA issued to Joy Global for the period commencing July 31, 2017 (the “Primary Policy”).

Joy Global has attempted to summarize the contents of the Primary Policy, but Arch denies that

Joy Global has done so accurately and/or completely. Arch refers to the Primary Policy for a

full and complete statement of its contents. Arch denies any characterizations by Joy Global

that are inconsistent with the Primary Policy. Arch lacks knowledge or information sufficient to

form a belief about the truth of the remaining allegations of Paragraph 35.

       36.     The CNA Policy is written on a standard D&O insurance form, which CNA calls its

“Management Liability Policy” and markets and sells to public companies like Joy Global.

Through its marketing materials (including materials posted to its website and dated July 22,

2016), and in its efforts to lure policyholders, CNA warns customers like Joy Global that they are

“more likely than ever to be scrutinized for their actions and decisions. All too often, a seemingly

straight-forward business decision may result in litigation.” Because of these risks, CNA urges

companies like Joy Global to “consider whether their management liability policy provides

coverage that addresses the exposures they may encounter in the current marketplace.”

      ANSWER: Arch denies the allegations concerning “a standard D&O insurance form.”

Arch lacks knowledge or information sufficient to form a belief about the truth of the remaining

allegations of Paragraph 36.
             Case 2:18-cv-02034-LA Filed 03/05/19 Page 16 of 46 Document 8
       37.     According to CNA, one of the highlights of its Management Liability Policy is that

it “include[s] broad definitions of claim and loss.” In its July 2016 promotional materials, CNA

does not caution, or even suggest, that its Management Liability Policy will not provide

indemnity coverage for acquisition-related claims, which is a substantial risk for a public

company like Joy Global and was the specific risk that both Joy Global and CNA expressly had in

mind when the CNA Policy was underwritten and sold to Joy Global.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 37.

       38.     CNA further touts its expertise in developing tailored insurance products

according to each client’s particular needs, stating in its marketing materials that it “develops

specific insurance products for its clients.”

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 38.

       39.     Against the background of such representations, Joy Global purchased the CNA

Policy and entrusted CNA to protect it against the Securities Claims.

       ANSWER: Arch admits that Joy Global purchased the Primary Policy. Arch lacks

knowledge or information sufficient to form a belief about the truth of the remaining allegations

of Paragraph 39.

       40.     Defendants Arch and Travelers issued excess policies that follow form to the CNA

Policy for the same 2016-2017 policy year. Arch issued Policy No. DOX 9300349-02 (the “Arch

Policy”), a true and correct copy of which is appended hereto as Exhibit B, and Travelers issued

Policy No. 105653715 (the “Travelers Policy”), a true and correct copy of which is appended

hereto as Exhibit C. The Arch Policy provides $10 million of coverage in excess of the limits of the

CNA Policy, and the Travelers Policy provides $10 million of coverage in

 excess of the limits of the Arch Policy. The Arch and Travelers Policies incorporate the same

 terms and Case  2:18-cv-02034-LA
           conditions of coverage as theFiled
                                         CNA03/05/19
                                              Policy. Page 17 of 46 Document 8
      ANSWER: Arch admits that Arch issued Policy No. DOX 9300349-02 (the “Arch

Policy”), a true and correct copy of which is appended to the Complaint as Exhibit B. Joy Global

has attempted to summarize the contents of the Arch Policy, but Arch denies that Joy Global has

done so accurately and/or completely. Arch refers to the Arch Policy for a full and complete

statement of its contents. Arch denies any characterizations by Joy Global that are inconsistent

with the Arch Policy. Arch lacks knowledge or information sufficient to form a belief about the

truth of the remaining allegations of Paragraph 40.

       41.       At no time in the course of underwriting and issuing their respective policies did

either Arch or Travelers ever indicate to Joy Global that it took a materially different or narrower

view of the scope of coverage under its policy than CNA represented was available under the

CNA Policy. On the contrary, at all material times, Arch and Travelers have been content to

indicate that they agree with CNA’s representations and positions, even where they have not, or

may have not, responsibly inquired into or informed themselves about CNA’s representations or

positions.

      ANSWER: Arch denies the allegations of Paragraph 41 to the extent they pertain to

Arch. Arch lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations of Paragraph 41.

 C.          The CNA Policy

       42.       The CNA Policy provides that:

                 The Insurer [CNA] shall pay on behalf of the Insured Entity [Joy
                 Global] that Loss resulting from any Securities Claim first made
                 against the Insured Entity during the Policy Period or Extended
                 Reporting Period, if applicable, for a Wrongful Act.

 Exhibit A, § I, at 1. Terms capitalized in the CNA Policy are defined in the CNA Policy.

      ANSWER: Arch admits that the Paragraph 42 quotes a portion of the Primary Policy.

Arch affirmatively states that the Primary Policy contains additional terms, conditions, and

              Case 2:18-cv-02034-LA Filed 03/05/19 Page 18 of 46 Document 8
exclusions, and denies any characterization inconsistent with any and all of the terms of the

Primary Policy.

       43.     “Loss” means, in relevant part:

               those amounts that the Insured Persons [or the Insured Entity] . . .
               are legally liable to pay as awards, settlements or judgments
               (including any award of pre-judgment and post-judgment interest
               on a covered judgment) and Defense Costs, Inquiry Costs,
               Shareholder Derivative Demand Investigation Costs and Books
               and Records Costs.

 Exhibit A, § II, at 5.

      ANSWER: Arch admits that the Paragraph 43 quotes a portion of the Primary Policy.

Arch affirmatively states that the Primary Policy contains additional terms, conditions, and

exclusions, and denies any characterization inconsistent with any and all of the terms of the

Primary Policy.

       44.     “Securities Claim” means, in relevant part:

               a Claim made against any Insured:

               1.         alleging, arising out of, based upon or attributable to the
                          purchase or sale or offer or solicitation of an offer to
                          purchase or sell any securities of an Insured Entity; or

               2.         brought by or on behalf of one or more security holders of
                          an Insured Entity in their capacity as such;

               ....

 Exhibit A, § II, at 7-8.

      ANSWER: Arch admits that the Paragraph 44 quotes a portion of the Primary Policy.

Arch affirmatively states that the Primary Policy contains additional terms, conditions, and

exclusions, and denies any characterization inconsistent with any and all of the terms of the

Primary Policy.

       45.     “Defense Costs” means:

               reasonable fees, costs, [and] expenses . . . consented to by the
               Insurer (such consent not to be unreasonably withheld or delayed)
             Case
               and2:18-cv-02034-LA       Filed
                   incurred by the Insureds  in 03/05/19     Page adjustment,
                                                the investigation, 19 of 46 Document 8
               defense or appeal of any covered Claim or incurred at the Insurer’s
               request to assist the Insurer in investigating any covered
               Claim . . . .

 Exhibit A, § II, at 3.

      ANSWER: Arch admits that the Paragraph 45 quotes a portion of the Primary Policy.

Arch affirmatively states that the Primary Policy contains additional terms, conditions, and

exclusions, and denies any characterization inconsistent with any and all of the terms of the

Primary Policy.

       46.     “Wrongful Act” means, in relevant part:

               any actual or alleged error misstatement, misleading statement, act,
               omission, neglect or breach of duty committed or attempted by . . . an
               Executive . . . or an Insured Entity . . . .”

 Exhibit A, § II, at 9.

      ANSWER: Arch denies that Joy Global has accurately quoted the Primary Policy in

Paragraph 46. Arch affirmatively states that the Primary Policy contains additional terms,

conditions, and exclusions, and denies any characterization inconsistent with any and all of the

terms of the Primary Policy.

       47.     Like most standard-form D&O policies, the CNA Policy provides coverage to Joy

Global, not only for its own liabilities and defense costs resulting from “Securities Claims” (i.e.,

so-called “Side C” coverage, as provided here by the Policy’s Insuring Agreement 3), but also for

those of individual directors and officers whom the company indemnifies (i.e., so-called “Side B”

coverage, as provided here by the Policy’s Insuring Agreement 2). Specifically, the policy states:

               The Insurer shall pay on behalf of the Insured Entity that Loss for
               which the Insured Entity has indemnified the Insured Persons [i.e.,
               individual directors and officers] and which results from any Claim
               first made against the Insured Persons during the Policy Period or the
               Extended Reporting Period, if applicable, for a Wrongful Act.

 Exhibit A, § I, at 1.

      ANSWER: Arch admits that the Paragraph 45 quotes a portion of the Primary Policy.
            Case
To the extent      2:18-cv-02034-LA
              that Joy                  Filed
                       Global has attempted to 03/05/19
                                               summarize Page  20 of 46
                                                         the coverage     Document
                                                                      provided        8
                                                                               by the Primary
Policy, Arch denies that Joy Global has done so accurately and/or completely. Arch refers to

the Primary Policy for a full and complete statement of its contents. Arch denies any

characterizations by Joy Global that are inconsistent with the terms of the Primary Policy.

Arch denies the remaining allegations in Paragraph 47.

       48.      As indicated below (see infra, ¶¶ 55-77), the Insurers have refused to provide

coverage for any of the amounts that Joy Global has paid and agreed to pay to settle the Securities

Claims on the ground that the Securities Claims constitute, and constitute entirely, a single

integrated “Inadequate Consideration Claim.” The CNA Policy (and the Arch and Travelers

Policies, by following form) excludes from the definition of “Loss” that portion of any judgment

or settlement against an “Insured Entity” or “Insured Person” that constitutes an “Inadequate

Consideration Claim.” Specifically, the CNA Policy states, in relevant part:

                However, Loss (other than Defense Costs) shall not include:

                                           *     *    *    *

                    vi. any amount of any judgment or settlement of any
                        Inadequate Consideration Claim other than Defense Costs .
                        ...
  Exhibit A, § II, at 6 (emphasis added).

      ANSWER: Arch admits that the Defendants have denied coverage for the settlement of

the lawsuits listed in Paragraph 17, which Joy Global refers to in the Complaint as the

“Securities Claims,” in specific correspondence. Arch further admits that Joy Global has

attempted to summarize and/or quote that correspondence as well as the terms of the Primary

Policy, but denies that Joy Global has done so accurately and/or completely. Arch refers to the

correspondence and the Primary Policy for a full and complete statement of its contents. Arch

denies any characterizations by Joy Global that are inconsistent with the correspondence and the

Primary Policy.

       49.      The CNA Policy defines “Inadequate Consideration Claim” to mean:

               that part of any Claim alleging that the price or consideration paid
             Case  2:18-cv-02034-LA
               or proposed   to be paid forFiled 03/05/19 orPage
                                            the acquisition        21 of 46
                                                             completion       Document 8
                                                                         of the
                acquisition of all or substantially all the ownership interest in or
                assets of an entity is inadequate.

  Exhibit A, § II, at 4 (emphasis added).

       ANSWER: Arch admits that the Paragraph 49 quotes a portion of the Primary Policy.

Arch affirmatively states that the Primary Policy contains additional terms, conditions, and

exclusions, and denies any characterization inconsistent with any and all of the terms of the

Primary Policy.

        50.     As the foregoing indicates, the Policy’s definition of “Inadequate Consideration

Claim” excludes coverage only for [i] “that part of” [ii] any “Claim” [iii] “alleging that the price or

consideration paid or proposed to be paid” for an acquisition is “inadequate.” The “Inadequate

Consideration Claim” exclusion does not bar coverage (a) for any other parts of any “Claim” or

(b) for any “Claim” that does not “allege that the price or consideration paid or proposed to be

paid” for an acquisition is inadequate.

       ANSWER: Arch denies the allegations of Paragraph 50.

        51.     As the foregoing further indicates, the CNA Policy does not exclude coverage for

“Defense Costs” for an “Inadequate Consideration Claim.” In other words, even where a

“Claim” is properly excluded from coverage, in whole or in part, on the ground that it is an

“Inadequate Consideration Claim,” coverage is still provided for “Defense Costs” incurred in

connection with such “Inadequate Consideration Claim.” See Exhibit A, § II, at 6 (definition of

“Loss,” subparagraph vi).

       ANSWER: Arch denies the allegations of Paragraph 51.

        52.     The CNA Policy’s definition of “Inadequate Consideration Claim” incorporates

the Policy’s definition of “Claim,” which, in turn, is defined to mean, in relevant part, “any civil .

. . proceeding . . . alleging a Wrongful Act . . . .” Exhibit A, § II, at 2.

       ANSWER: Arch admits that the defined term “Claim” appears in the definition of

“Inadequate Consideration Claim” in the Primary Policy and that Paragraph 52 partially quotes
           Case 2:18-cv-02034-LA Filed 03/05/19 Page 22 of 46 Document 8
a portion of the definition of “Claim” in the Primary Policy. Arch affirmatively states that the

Primary Policy contains additional terms, conditions, and exclusions, which speak for

themselves, and denies any characterization inconsistent with any and all of the terms of the

Primary Policy. Arch denies the remaining allegations of Paragraph 52.

        53.    Accordingly, the CNA Policy provides that whether a “Claim” is, in whole or in

part, an “Inadequate Consideration Claim” turns on whether Joy Global or an “Executive” (i.e., a

Joy Global officer or director) “committed or attempted” the “Wrongful Act” of paying or

proposing to pay inadequate consideration for the acquisition of all or substantially all of the

ownership interest in or assets of another entity.

        ANSWER: Arch denies the allegations of Paragraph 53.

        54.    The CNA Policy also includes a manuscript endorsement (Endorsement No. 3),

entitled “Joy Global Inc. Run Off Period Endorsement.” This endorsement provides in relevant

part:

               [I]f there is a Takeover of the Named Insured during the Policy
               Period, either directly or indirectly, by Komatsu Ltd., then in
               consideration of an additional premium paid in the amount of
               $236,250.00 [i.e., 100% of the base premium] . . . the Policy shall
               be amended as follows:

               ...

               1. Run-Off Period

               This Policy shall be extended for a period commencing on the
               effective date of the Takeover of the Named Insured by Komatsu
               Ltd. and expiring six (6) years thereafter (hereinafter the “Run-Off
               Period”), but only with respect to:

               a.      Claims first made against the Insureds during the Run-
                       Off Period for any actual or alleged:

                       i.     Wrongful Act occurring prior to the effective date of
                              such Takeover; . . .

               and otherwise covered pursuant to the terms, conditions, and
               restrictions of this Policy.

  Exhibit A,Case 2:18-cv-02034-LA
             Endorsement No. 3.   Filed 03/05/19 Page 23 of 46 Document 8
       ANSWER: Arch admits that the Paragraph 54 quotes a portion of the Primary Policy.

Arch affirmatively states that the Primary Policy contains additional terms, conditions, and

exclusions, and denies any characterization inconsistent with any and all of the terms of the

Primary Policy. Arch denies the remaining allegations of Paragraph 54.

  D.      The Insurers’ Denial of Coverage

        55.     By emails sent by its insurance broker, Marsh LLC, Joy Global gave timely notice

to the Insurers of the Securities Claims promptly after each was filed and served.

       ANSWER: Arch admits that Joy Global’s insurance broker, March LLC, provided

notice of the Securities Claims to Arch by specific correspondence. Arch further admits that Joy

Global has attempted to summarize that correspondence, but denies that Joy Global has done so

accurately and/or completely. Arch refers to the correspondence for a full and complete

statement of its contents. Arch denies any characterizations by Joy Global that are inconsistent

with the correspondence. Arch lacks knowledge or information sufficient to form a belief as to

the truth about the remaining allegations in Paragraph 55.

        56.     In a letter to Joy Global dated November 8, 2016, CNA acknowledged coverage

under the CNA Policy for “Defense Costs” incurred by Joy Global in connection with the

Securities Claims but denied coverage for any and all liability in those actions, on the ground that,

taken as a whole, they constituted, in their entirety, an “Inadequate Consideration Claim.”

       ANSWER: Arch admits that Columbia Casualty sent a letter dated November 8, 2016 to

Joy Global. Arch further admits that Joy Global has attempted to summarize that letter, but

denies that Joy Global has done so accurately and/or completely. Arch refers to the letter for a

full and complete statement of its contents. Arch denies any characterizations by Joy Global

that are inconsistent with the letter.

        57.     In this letter, CNA acknowledged that the plaintiffs in the Securities Claims

challenged Joy Global’s sale to KAC, in part, because “the Board agreed to preclusive deal
            Case 2:18-cv-02034-LA
protection devices,                      Filedand
                    including no-solicitation   03/05/19
                                                  matchingPage
                                                          rights 24 of 46 Document
                                                                 provisions, and that the8proxy
statement filed with the SEC in relation to the Proposed Merger is materially incomplete and

misleading.”

       ANSWER: Arch admits that Columbia Casualty sent a letter dated November 8, 2016 to

Joy Global. Arch further admits that Joy Global has attempted to summarize that letter, but

denies that Joy Global has done so accurately and/or completely. Arch refers to the letter for a

full and complete statement of its contents. Arch denies any characterizations by Joy Global

that are inconsistent with the letter.

        58.      CNA’s November 8, 2016, letter identified three categories of allegations made

by the plaintiffs regarding the so-called “flawed process in negotiating the Proposed Merger.”

               a. First, plaintiffs alleged that Joy Global “push[ed] Komatsu to

               commit to certain post-close employee retention and compensation

               prior to signing the merger agreement,” and that “restricted stock and

               unrestricted stock units held by non-employee Board members will

               vest upon consummation of the Proposed Merger and that Joy

               Global’s CEO, Edward Doheny II, will receive a $6.6 million cash

               severance payment.”

               b. Second, plaintiffs alleged that Joy Global “determin[ed] not to

               contact any potential bidders aside from Komatsu . . . until after

               announcement of the Proposed Merger and establishment of the $75

               million termination fee.”

               c. Third, plaintiffs alleged that Joy Global “instruct[ed] Goldman,

               Sachs & Co. . . . to utilize certain pessimistic forecasts, rather than

               the optimistic forecasts Joy Global’s management had previously

               prepared. . . . Goldman is also allegedly due to receive a success fee

               of $28.5 million contingent on completion of the Proposed Merger.”
              Case 2:18-cv-02034-LA Filed 03/05/19 Page 25 of 46 Document 8
       ANSWER: Arch admits that Columbia Casualty sent a letter dated November 8, 2016 to

Joy Global. Arch further admits that Joy Global has attempted to summarize that letter, but

denies that Joy Global has done so accurately and/or completely. Arch refers to the letter for a

full and complete statement of its contents. Arch denies any characterizations by Joy Global

that are inconsistent with the letter.

          59.     Notwithstanding (a) the foregoing allegations; (b) the fact that the “Claims” pleaded

in the Securities Claims included claims for misrepresentation, nondisclosure, breaches of fiduciary

duty, and the like; (c) the fact that CNA sold the CNA Policy to Joy Global expressly to protect Joy

Global and its directors and officers from claims arising out of the envisioned sale to KAC; and (d)

the limited scope and inapplicable terms of the CNA Policy’s “Inadequate Consideration Claim”

exclusion, CNA’s November 8, 2016, letter deemed the entire litigation (i.e., all eight Securities

Claims and all claims within each of them) an “Inadequate Consideration Claim” and thus,

excluded from coverage under the Policy. CNA concluded: “the Policy does not provide coverage

for any judgement or settlement in this matter and instead will only provide coverage for Defense

Costs.”

       ANSWER: Arch admits that Columbia Casualty sent a letter dated November 8, 2016 to

Joy Global. Arch further admits that Joy Global has attempted to summarize that letter, but

denies that Joy Global has done so accurately and/or completely. Arch refers to the letter for a

full and complete statement of its contents. Arch denies any characterizations by Joy Global

that are inconsistent with the letter. Arch denies the remaining allegations in Paragraph 59.

          60.     On June 19, 2017, CNA issued a further letter to Joy Global in which it

acknowledged receipt of the amended Duncan complaint (which, as noted above, had been filed

on April 26, 2017), and further acknowledged that the other seven Securities Claims had been

settled. In this letter, CNA recognized that, among their other assertions, the Duncan plaintiffs

alleged in their amended complaint that:
                Case 2:18-cv-02034-LA Filed 03/05/19 Page 26 of 46 Document 8
                  on September 2, 2016, defendants issued a false and misleading
                  Definitive Proxy Statement on Schedule 14(a) in order to secure
                  shareholder support for the undervalued acquisition. Plaintiffs
                  further allege that Defendants were forced to issue multiple
                  supplemental Proxy disclosures on September 29 and October 3,
                  2016 in an attempt to rectify the problems, but the final Proxy
                  still woefully failed to provide full and fair disclosures to Joy
                  Global stockholders.

       ANSWER: Arch admits that Columbia Casualty sent a letter dated June 19, 2017 to Joy

Global. Arch further admits that Joy Global has attempted to summarize that letter, but denies

that Joy Global has done so accurately and/or completely. Arch refers to the letter for a full and

complete statement of its contents. Arch denies any characterizations by Joy Global that are

inconsistent with the letter.

        61.     CNA also recognized in its June 19, 2017, letter that the Duncan plaintiffs “further

allege that Joy Global executives received ‘golden parachutes’ and exorbitant compensation on the

date the merger closed.” In addition, CNA acknowledged that the relief sought by the Duncan

plaintiffs included “certification of the class, injunctive relief declaring the Proxy false and

misleading, and compensatory and rescissory damages, pre and post judgment interest, attorney

fees, expert fees and costs.”

       ANSWER: Arch admits that Columbia Casualty sent a letter dated June 19, 2017 to Joy

Global. Arch further admits that Joy Global has attempted to summarize that letter, but denies

that Joy Global has done so accurately and/or completely. Arch refers to the letter for a full and

complete statement of its contents. Arch denies any characterizations by Joy Global that are

inconsistent with the letter.

        62.     Again, however, CNA labeled the Duncan litigation, in its entirety, an “Inadequate

Consideration Claim” under the terms of the Policy. CNA’s June 19, 2017, letter concluded that

“the Policy does not provide coverage for any judgement or settlement in this matter,” just as

CNA declined to indemnify Joy Global for any portion of the amounts it paid to settle the seven

Securities Claims other than Duncan, “and instead will only provide coverage for Defense Costs.”
            Case 2:18-cv-02034-LA Filed 03/05/19 Page 27 of 46 Document 8
       ANSWER: Arch admits that Columbia Casualty sent a letter dated June 19, 2017 to Joy

Global. Arch further admits that Joy Global has attempted to summarize that letter, but denies

that Joy Global has done so accurately and/or completely. Arch refers to the letter for a full and

complete statement of its contents. Arch denies any characterizations by Joy Global that are

inconsistent with the letter.

        63.        On or around August 11, 2017, Arch wrote to Joy Global, referencing CNA’s

June 19, 2017 letter, and adopting CNA’s coverage position as its own.

       ANSWER: Arch admits that it sent a letter dated August 11, 2017 to Joy Global. Arch

further admits that Joy Global has attempted to summarize that letter, but denies that Joy Global

has done so accurately and/or completely. Arch refers to the letter for a full and complete

statement of its contents. Arch denies any characterizations by Joy Global that are inconsistent

with the letter.

        64.        On October 26, 2017, Joy Global wrote to CNA and asked it to reconsider its

coverage position, noting that by declining coverage for any judgment or settlement of the

Securities Claims, CNA had waived any consent rights it otherwise might have under the Policy

with respect to settlement issues, and further, had waived any requirement under the Policy that

Joy Global obtain CNA’s consent before settling Duncan or making any offer of settlement in

Duncan.

       ANSWER: Arch admits that Joy Global sent a letter dated October 26, 2017 to CNA.

Arch further admits that Joy Global has attempted to summarize that letter, but denies that Joy

Global has done so accurately and/or completely. Arch refers to the letter for a full and

complete statement of its contents. Arch denies any characterizations by Joy Global that are

inconsistent with the letter.

        65.        In a letter dated November 14, 2017, CNA responded to Joy Global by

withdrawing its disclaimer of coverage, reserving its rights, and acknowledging that the Duncan
          Case 2:18-cv-02034-LA
amended complaint, as pleaded, assertedFiled 03/05/19
                                        claims and soughtPage
                                                          relief28 of 46 Document
                                                                 potentially            8
                                                                             within the Policy’s
coverage. CNA acknowledged, for example, that the amended complaint sought “an award of

‘compensatory and/or rescissory damages against the defendants,’” thereby triggering potential

indemnity coverage, at a minimum, in respect to rescissory damages, as such damages are not

damages for inadequate consideration.

       ANSWER: Arch admits that Columbia Casualty sent a letter dated November 14, 2017

to Joy Global’s counsel. Arch further admits that Joy Global has attempted to summarize that

letter, but denies that Joy Global has done so accurately and/or completely. Arch refers to the

letter for a full and complete statement of its contents. Arch denies any characterizations by Joy

Global that are inconsistent with the letter.

       66.     Thereafter, in reliance on CNA’s withdrawal of its disclaimer and acknowledgment

of potential indemnity coverage, Joy Global provided CNA with confidential information

regarding its damages analyses and settlement strategy, including by making its defense counsel

available to CNA, Arch, and Travelers for phone reports and hosting an in-person meeting to

allow the Insurers to hear a detailed litigation report directly from, and to pose any questions that

they had to, Joy Global’s Securities Claims defense counsel. In advance of these discussions,

Insurers signed a written Confidentiality Agreement agreeing, inter alia, not to use any

confidential defense information provided by Joy Global for purposes of “evaluating whether or

not insurance coverage is available” for the Securities Claims.

       ANSWER: Arch admits that Joy Global’s defense counsel provided information

regarding its damages analyses and settlement strategy, including by phone reports and an in

person meeting. Arch further admits that the Defendants and Joy Global executed a

Confidentiality Agreement. Arch further admits that Joy Global has attempted to summarize

that Confidentiality Agreement, but denies that Joy Global has done so accurately and/or

completely. Arch refers to the Confidentiality Agreement for a full and complete statement of

its contents. Arch denies any characterizations by Joy Global that are inconsistent with the
           Case
Confidentiality   2:18-cv-02034-LA
                Agreement. Arch deniesFiled  03/05/19allegations
                                       the remaining    Page 29ofofParagraph
                                                                    46 Document
                                                                             66. 8
        67.     Joy Global also responded to CNA’s November 14, 2017, letter with an extensive

letter dated December 22, 2017, that once again urged CNA to affirmatively recognize its

contractual obligation to provide indemnity coverage for the Securities Claims, and that provided a

detailed rebuttal to CNA’s assertions in regard to why such coverage might not be available.

       ANSWER: Arch admits that Joy Global sent a letter dated December 22, 2017 to

Columbia Casualty. Arch further admits that Joy Global has attempted to summarize that letter,

but denies that Joy Global has done so accurately and/or completely. Arch refers to the letter for

a full and complete statement of its contents. Arch denies any characterizations by Joy Global

that are inconsistent with the letter.

        68.     Over the course of the next two months, while the parties to the Duncan suit

awaited a ruling from this Court on Joy Global’s motion to dismiss the amended complaint, Joy

Global’s defense counsel and the Duncan plaintiffs’ counsel initiated exploratory settlement

discussions. Joy Global kept the Insurers apprised of these discussions, in an abundance of

caution and a spirit of cooperation.

       ANSWER: Arch admits that Joy Global provided certain updates to Arch regarding

exploratory settlement discussions. Arch lacks knowledge or information sufficient to form a

belief about the truth about the remaining allegations of Paragraph 68.

        69.     On February 28, 2018, Joy Global requested that CNA, Arch, and Travelers

consent to a proposed settlement of the Duncan suit.

       ANSWER: Arch admits that it received a letter dated February 28, 2018 from Joy

Global’s counsel. Arch further admits that Joy Global has attempted to summarize that letter,

but denies that Joy Global has done so accurately and/or completely. Arch refers to the letter for

a full and complete statement of its contents. Arch denies any characterizations by Joy Global

that are inconsistent with the letter.



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        70.        On or around March 7, 2018, CNA responded by disclaiming coverage for the

proposed settlement in full. CNA instructed Joy Global “to act as a prudent uninsured” with

respect to whether to settle the Duncan action on the terms proposed.

       ANSWER: Arch admits that Columbia Casualty sent a letter dated March 7, 2018 to Joy

Global. Arch further admits that Joy Global has attempted to summarize that letter, but denies

that Joy Global has done so accurately and/or completely. Arch refers to the letter for a full and

complete statement of its contents. Arch denies any characterizations by Joy Global that are

inconsistent with the letter.

        71.        On or around March 8, 2018, Arch likewise disclaimed coverage for the proposed

Duncan settlement, agreeing with and adopting the coverage position set forth in CNA’s coverage

correspondence, including CNA’s March 7, 2018 letter.

       ANSWER: Arch admits that it sent a letter dated March 8, 2018 to Joy Global. Arch

further admits that Joy Global has attempted to summarize that letter, but denies that Joy Global

has done so accurately and/or completely. Arch refers to the letter for a full and complete

statement of its contents. Arch denies any characterizations by Joy Global that are inconsistent

with the letter.

        72.        On or around March 8, 2018, Travelers followed suit and similarly disclaimed

coverage for the proposed Duncan settlement, adopting the responses set forth in CNA’s March

7, 2018, letter and Arch’s March 8, 2018, letter.

       ANSWER: Arch admits that Travelers sent a letter dated March 8, 2018 to Joy Global.

Arch further admits that Joy Global has attempted to summarize that letter, but denies that Joy

Global has done so accurately and/or completely. Arch refers to the letter for a full and

complete statement of its contents. Arch denies any characterizations by Joy Global that are

inconsistent with the letter.

        73.        Despite the Insurers’ improper denial of coverage and refusal to consent to the
          Case settlement,
proposed Duncan 2:18-cv-02034-LA       Filed 03/05/19
                           in order to protect its interests,Page  31 of agreed
                                                              Joy Global 46 Document       8
                                                                                to the settlement
proposal of the Duncan plaintiffs, without any assurance that any of the Insurers would honor

their coverage obligations, and Joy Global continued to reserve its rights vis-à-vis the Insurers.

       ANSWER: Arch admits that Joy Global agreed to a settlement proposal with the

Duncan plaintiffs. Arch denies the remaining allegations of Paragraph 73.

       74.     The Insurers’ denial of coverage is not supported by the language of the insurance

policies they issued, the terms of the underlying allegations in the Duncan action, or governing

Wisconsin law.

       ANSWER: Arch denies the allegations of Paragraph 74.

       75.     The Insurers’ denial of coverage is also irreconcilably inconsistent with CNA’s

prior acknowledgment of the potential for coverage due to, inter alia, the Duncan plaintiffs’

misrepresentation allegations and demand for rescissory damages. At the time of the Duncan

settlement, the terms and scope of the Duncan plaintiffs’ claims remained exactly as they had

been pleaded in the amended complaint. The Duncan “Claims” were thus exactly the same at the

time of settlement as they had been on November 14, 2017, when CNA had issued its letter

reversing its denial of coverage and acknowledging the potential for coverage for a judgment or

settlement in Duncan. There was, and remains, no basis for CNA to have reversed its position, yet

again, to deny all indemnity coverage.

       ANSWER: Arch denies the allegations of Paragraph 75.

       76.     In addition, in disclaiming coverage for the settlement, CNA improperly relied

upon and referenced confidential information disclosed to CNA at an in-person meeting with

defense counsel, in violation of the Confidentiality Agreement it had signed with Joy Global.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth about the allegations of Paragraph 76.

       77.     Further, and most disturbingly, the Insurers’ denial of coverage is directly at odds

with the representations, inducements, and assurances that CNA made at the time that it

underwrote Case   2:18-cv-02034-LA
           and issued                Filedrespect
                      the CNA Policy with   03/05/19
                                                  to the Page  32 of of
                                                         availability 46coverage
                                                                          Document     8
                                                                                 for the
proposed transaction. CNA indicated, and Joy Global understood, that it would be covered for

claims like the Securities Claims when it bought the Policy.

        ANSWER: Arch denies the allegations of Paragraph 77 to the extent that they pertain to

Arch. Arch lacks knowledge or information sufficient to form a belief about the truth about the

remaining allegations of Paragraph 77.

  E.      CNA’s Refusal to Reimburse Reasonable Defense Costs

        78.     CNA has acknowledged that the Policy affords coverage for “Defense Costs”

incurred in the Securities Claims.

        ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth about the allegations of Paragraph 78.

        79.     In order to defend itself in the Securities Actions, and consistent with common

practice in securities class action litigation, Joy Global hired two law firms: Arnold & Porter Kaye

Scholer LLP (“APKS”) as its primary defense counsel and Foley & Lardner LLP (“Foley”) as its

local counsel. In addition, Wachtell, Lipton, Rosen & Katz LLP (“Wachtell”) was retained to

represent the individual defendants named in the Duncan action.

       ANSWER: Arch admits that Joy Global hired Arnold & Porter Kay Scholer LLP and Foley &

Lardner LLP as defense counsel in the lawsuits listed in Paragraph 17, which Joy Global refers to in

the Complaint as the “Securities Claims,” and that Wachtell Lipton, Rosen & Katz LLP was retained

to represent certain individual defendants named in the Duncan Action. Arch lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of Paragraph 79.

        80.     On July 19, 2017, Joy Global identified these firms to CNA, along with the hourly

billing rates of the attorneys involved, and reported the defense costs incurred to date.

        ANSWER: Arch admits that Joy Global sent a letter dated July 19, 2017 to Columbia

Casualty. Arch further admits that Joy Global has attempted to summarize that letter, but denies

that Joy Global has done so accurately and/or completely. Arch refers to the letter for a full and
              Case 2:18-cv-02034-LA Filed 03/05/19 Page 33 of 46 Document 8
complete statement of its contents. Arch denies any characterizations by Joy Global that are

inconsistent with the letter.

        81.     On August 8, 2017, CNA responded to Joy Global’s July 19, 2017, letter and

“consent[ed] to the retention of Arnold & Porter Kaye Scholer LLP; Wachtell, Lipton, Rosen &

Katz; and Foley & Lardner LLP at the rates described.”

       ANSWER: Arch admits that Columbia Casualty sent a communication dated August 8,

2017 to Joy Global. Arch further admits that Joy Global has attempted to summarize and quote

that communication, but denies that Joy Global has done so accurately and/or completely. Arch

refers to the letter for a full and complete statement of its contents. Arch denies any

characterizations by Joy Global that are inconsistent with the letter.

        82.     Joy Global has periodically submitted invoices from these three law firms to CNA

for reimbursement of Defense Costs incurred in the Securities Claims. All Defense Costs that Joy

Global has submitted for reimbursement by CNA are for amounts that (a) exceed Joy Global’s

self-insured retention under the CNA Policy; (b) Joy Global has determined are reasonable; and

(c) Joy Global has paid itself, or is in the process of paying itself, irrespective of whether CNA

fully honors its contractual obligation to reimburse Defense Costs.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 82.

        83.     While CNA has reimbursed certain Defense Costs submitted by Joy Global, CNA

has refused to pay or reimburse hundreds of thousands of dollars of Joy Global’s Defense Costs.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 83.




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                                            COUNT ONE

                                   DECLARATORY JUDGMENT
                                        (All Defendants)

       84.     Joy Global repeats and incorporates the allegations set forth in the foregoing

paragraphs as if fully set forth herein.

       ANSWER: Arch repeats and incorporates by reference its responses to Paragraphs 1-83

in response to the allegations of Paragraph 84.

       85.     An actual controversy exists between Joy Global, on one hand, and each of CNA,

Arch, and Travelers, on the other hand, concerning Joy Global’s legal rights and the Insurers’

respective legal obligations to pay on behalf of Joy Global, under the insurance policies that each

Insurer issued to Joy Global, the costs Joy Global has incurred and will continue to incur to defend

and resolve the Securities Claims, including without limitation the Duncan action.

       ANSWER: Arch admits that an actual controversy exists between Joy Global and Arch.

Arch denies the remaining allegations of Paragraph 85.

       86.     Joy Global contends, without limitation, that all of its defense and settlement costs

in excess of its self-insured retention are covered under the Insurers’ policies and obligate the

Insurers to pay such costs on behalf of Joy Global. By contrast, each of CNA, Arch, and Travelers

contends that none of the costs of settling the Securities Claims are covered under their respective

policies, and CNA contends that only a portion of the costs of defending the Securities Claims are

covered under the CNA Policy.

       ANSWER: Arch admits that its policy does not cover the matters for which Joy Global

seeks coverage. Arch lacks knowledge or information sufficient to form a belief about what Joy

Global contends, aside from what it alleges in this Complaint.

       87.     This controversy is of sufficient immediacy to justify the issuance of a declaratory

judgment. The issuance of declaratory relief by this Court may terminate some of the existing

controversy between the parties.
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        ANSWER: Arch denies that Joy Global is entitled to any relief whatsoever and denies

the remaining allegations of Paragraph 87.

        88.     Pursuant to 28 U.S.C. § 2201, other applicable law, and the inherent equitable

powers of this Court, Joy Global is entitled to a declaration of the rights and obligations of the

parties, including but not limited to a finding that Insurers are obligated to pay on behalf of Joy

Global all amounts, in excess of its self-insured retention, that it has incurred or may hereafter

  incur as a result of the Securities Claims, including without limitation any and all such defense

  and settlement payments.

        ANSWER: Arch denies the allegations of Paragraph 88.

                                             COUNT TWO

                                 BREACH OF CONTRACT
                         WITH RESPECT TO INDEMNITY COVERAGE
                                     (All Defendants)

        89.     Joy Global repeats and incorporates the allegations set forth in the foregoing

paragraphs as if fully set forth herein.

        ANSWER: Arch repeats and incorporates by reference its responses to Paragraphs 1-88

in response to the allegations of Paragraph 89.

        90.     Each of the three insurance policies at issue in this case is a valid and enforceable

contract between Joy Global, on one hand, and CNA, Arch, or Travelers, respectively, on the other

hand.

        ANSWER: Arch admits that the Arch Policy is a valid and enforceable contract between

Joy Global and Arch. Arch lacks knowledge or information sufficient to form a belief about the

truth of the remaining allegations of Paragraph 90.

        91.     Joy Global has complied fully with the terms and conditions of the insurance

policies and has performed all of its obligations under the policies.

        ANSWER: Arch denies the allegations of Paragraph 91.
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         92.    Each of the Insurers has refused to pay or reimburse settlement costs that Joy

Global has incurred in the eight Securities Claims in excess of Joy Global’s self-insured

retention, and/or has repudiated or anticipatorily breached its obligation to pay such amounts,

including all amounts that Joy Global has paid to settle the eight Securities Claims, including

Duncan.

         ANSWER: Arch admits that it has not reimbursed Joy Global under the Arch Policy.

Arch denies the remaining allegations of Paragraph 92.

         93.    Each Insurer’s refusal to pay or indemnify settlement costs in the Securities

Claims constitutes a breach of the commitments that the Insurer made in the contract of

insurance that it sold and issued to Joy Global.

         ANSWER: Arch denies the allegations of Paragraph 93.

         94.    As a direct and proximate result of each Insurer’s breaches of its contract of

insurance with Joy Global, Joy Global has been deprived of the benefits of its liability insurance

coverage for which it paid substantial premiums.

         ANSWER: Arch denies the allegations of Paragraph 94.

         95.    As a direct and proximate result of each Insurer’s breaches of its contract of

insurance with Joy Global, Joy Global has incurred damages in an amount to be proven at trial and

that, with respect to each Insurer, exceed the amount required to invoke the jurisdiction of this

Court.

         ANSWER: Arch denies the allegations of Paragraph 95.

         96.    Joy Global has presented written notice of its claims for indemnity and the amount of

its claims for indemnity to each Insurer, and no Insurer has paid Joy Global’s claims within 30 days

of such notice. Further, no Insurer has reasonable proof that it is not responsible for the payment

demanded. Accordingly, pursuant to Wisconsin Statute § 628.46, Joy Global is entitled to recover

interest at a rate of at least 7.5 percent per year for the period starting 30 days after Joy Global’s
            Case
written notice until2:18-cv-02034-LA    Filed owed.
                     payment of the indemnity 03/05/19 Page 37 of 46 Document 8
       ANSWER: Arch admits that it has not reimbursed Joy Global under the Arch Policy.

Arch denies the remaining allegations of Paragraph 96.

                                             COUNT THREE

                               BREACH OF CONTRACT
                      WITH RESPECT TO DEFENSE COSTS COVERAGE
                                 (Defendant CNA Only)

       97.      Joy Global repeats and incorporates the allegations set forth in the foregoing

paragraphs as if fully set forth herein.

       ANSWER: Arch repeats and incorporates by reference its responses to Paragraphs 1-96

in response to the allegations of Paragraph 97.

       98.      The insurance policy issued by CNA is a valid and enforceable contract between Joy

Global and CNA.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 98.

       99.      Joy Global has complied fully with the terms and conditions of the CNA Policy and

has performed all of its obligations under the CNA Policy.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 99.

       100.     CNA is obliged under the CNA Policy to pay “all reasonable fees, costs, [and]

expenses . . . consented to by the Insurer” in connection with the Securities Claims and is

forbidden by that same policy from unreasonably withholding consent to such fees, costs, and

expenses.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 100.

       101.     CNA has breached its obligations under the CNA Policy to fully pay Joy Global’s

reasonable defense costs in defending the Securities Claims.
              Case 2:18-cv-02034-LA Filed 03/05/19 Page 38 of 46 Document 8
         ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 101.

         102.   As a result of CNA’s breaches of contract, Joy Global has incurred damages in an

amount to be proven at trial that exceeds the amount required to invoke the jurisdiction of this

Court.

         ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 102.

         103.   Joy Global has presented written notice of the fact of its claim for defense costs and

the amount of its claim for defense costs to CNA, and CNA has not paid Joy Global’s claims

within 30 days of such notice. Further, CNA does not have reasonable proof that it is not

responsible for the payment demanded. Accordingly, pursuant to Wisconsin Statute § 628.46, Joy

Global is entitled to recover interest at a rate of at least 7.5 percent per year for the period starting

30 days after Joy Global’s written notice until payment of the defense costs owed.

         ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 103.

                                             COUNT FOUR

                          BREACH OF THE IMPLIED COVENANT OF
                             GOOD FAITH AND FAIR DEALING
                                  (Defendant CNA Only)

         104.   Joy Global repeats and incorporates the allegations set forth in the foregoing

paragraphs as if fully set forth herein.

         ANSWER: Arch repeats and incorporates by reference its responses to Paragraphs 1-

103 in response to the allegations of Paragraph 103.

         105.   The insurance policy issued by CNA is a valid and enforceable contract between

Joy Global and CNA.

         ANSWER: Arch lacks knowledge or information sufficient to form a belief about the
             Case 2:18-cv-02034-LA
truth of the allegations of Paragraph 105.Filed 03/05/19 Page 39 of 46 Document 8
       106.     Joy Global has complied fully with the terms and conditions of the CNA Policy

and has performed all of its obligations under the CNA Policy.

      ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 106.

       107.     At all material times, CNA has had a duty to act fairly and in good faith toward

Joy Global in connection with the CNA Policy.

      ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 107.

       108.     CNA’s obligation to act fairly and in good faith toward Joy Global requires CNA

  to provide the coverage promised under the CNA Policy and that CNA represented and induced

 Joy Global to believe it would have under the CNA Policy when it underwrote, issued, and sold

 the Policy, including its Run-Off Endorsement, to Joy Global. CNA’s obligation to act fairly and

 in good faith toward Joy Global also requires CNA to abide by its Confidentiality Agreement

 with Joy Global.

      ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 108.

       109.     CNA has breached its duty of good faith and fair dealing by wrongfully,

knowingly, and without a reasonable or fairly debatable basis refusing to provide the insurance

coverage that it promised, and that is due and owing, to Joy Global. In particular, and without

limitation, CNA:

               a. while negotiating the renewal of the CNA Policy, and in order to induce Joy

                 Global to purchase the Policy, willfully concealed and/or misrepresented its now-

                 revealed position that the CNA Policy does not provide indemnity coverage for

                 acquisition-related litigation — a position that is contrary to both (i) the language

                 of the CNA Policy and (ii) what CNA knew to be Joy Global’s understanding and
              Caseexpectation
                    2:18-cv-02034-LA      Filed
                              at the time of    03/05/19 Page 40 of 46 Document 8
                                             underwriting;
             b. changed its original coverage position from a denial of indemnity coverage to a

                reservation of rights, solely in order to induce Joy Global to provide sensitive and

                confidential information regarding its defense and settlement strategy;

             c. used Joy Global’s confidential and sensitive information regarding the defense and

                settlement of the Duncan action, which it obtained solely by withdrawing its

                original denial of indemnity coverage, to support its second and ultimate denial of

                coverage, in violation of the Confidentiality Agreement it signed with Joy Global;

             d. unreasonably reversed its coverage position a second time, reverting from its

                reservation of rights back to its original position (i.e., a complete denial of

                indemnity coverage) — promptly after the Duncan settlement was agreed in

                principle and tendered for coverage approval; once it had obtained confidential

                information by misleading Joy Global into expecting that at least some indemnity

                coverage would be provided; and notwithstanding that there had been no material

                change in the posture or substance of the Duncan case that could possibly justify a

                second reversal of its coverage position;

             e. in response to Joy Global’s repeated requests for cooperation and consent,

                delayed action unreasonably to risk prejudice to and pressure Joy Global in the

                Duncan litigation, such that Joy Global ultimately felt it needed to protect its own

                interests as if it were a “prudent uninsured;” and

             f. without any reasonable basis in fact or law, and for its own purposes and to its

                own advantage, knowingly took unreasonable positions concerning the coverage

                provided by the CNA Policy.

      ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 109.



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       110.    CNA committed these acts to enrich CNA and for the purpose of consciously

withholding from Joy Global the rights and benefits to which Joy Global is entitled under the

CNA Policy.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 110.

       111.    CNA’s actions are inconsistent with the reasonable expectations of its insured, are

contrary to established norms, practices and legal requirements related to insurance claims, are

contrary to the express terms of the CNA Policy and the Confidentiality Agreement between

 CNA and Joy Global, and constitute a breach of the implied covenant of good faith and fair

 dealing.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 111.

       112.    As a direct and proximate result of CNA’s breaches and violations, Joy Global has

suffered and continues to suffer substantial damages, in an amount to be determined at trial that

exceeds the amount required to invoke the jurisdiction of this Court. Such damages include,

without limitation, amounts that should have been paid under the CNA Policy, damages for the

loss of use of funds, and damages to compensate Joy Global for the costs it has been forced to

incur in the costly effort to prove its entitlement to coverage.

       ANSWER: Arch lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 112.

       WHEREFORE, Arch prays that the Court enter judgment in its favor, and against Joy

Global, and award Arch all relief that this Court deems just and equitable.

                                    AFFIRMATIVE DEFENSES

       Arch asserts the affirmative defenses set forth below. By pleading these affirmative

defenses, Arch does not intend to alter the burden of proof and/or burden of persuasion that
           Casewith
otherwise exists 2:18-cv-02034-LA      Filed
                    respect to any issues     03/05/19
                                          in this         Page
                                                  action. All     42 of 46defenses
                                                              affirmative   Document     8 in the
                                                                                   are pled
alternative and do not constitute an admission of liability or an admission that Joy Global is entitled

to any relief whatsoever.

                                      First Affirmative Defense

       Joy Global’s claims against Arch are barred because Joy Global seeks amounts that do not

constitute covered “Loss” within the meaning of the Primary Policy.

                                    Second Affirmative Defense

       Joy Global’s claims against Arch are barred because Joy Global failed to comply with the

requirements of Condition V.1. of the Primary Policy.

                                     Third Affirmative Defense

       Joy Global’s claims against Arch are barred because Joy Global failed to comply with the

requirements of Condition V.4. of the Primary Policy.

                                    Fourth Affirmative Defense

       Joy Global’s claims against Arch are barred to the extent Joy Global seeks coverage for the

return of amounts to which Joy Global was not legally entitled or for which insurance coverage

would violate public policy.

                                      Fifth Affirmative Defense

       To the extent that any portion of coverage sought by Joy Global is available (which it is not),

an appropriate allocation between covered and non-covered Loss, including Defense Costs, pursuant

to the Primary Policy, the Arch Policy, and applicable law is required.

                                      Sixth Affirmative Defense

       The specified coverage provided under the Primary Policy and the Arch Policy is subject to

and limited by all applicable terms, conditions and exclusions. There may be other terms, conditions

and exclusions of the Primary Policy and/or the Arch Policy that operate to bar or limit coverage for

some or all of the amounts for which Joy Global seeks coverage. Arch reserves its right to raise

affirmatively other terms, conditions and exclusions as defenses to coverage.
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                                    Seventh Affirmative Defense

        Joy Global’s claims against Arch are barred by the doctrines of release and accord and

satisfaction.

                                     Eighth Affirmative Defense

        Joy Global’s claim under Wisconsin Statute § 628.46 is barred to the extent Joy Global has

not satisfied the requirements of Wisconsin Statute § 628.46.

                                      Ninth Affirmative Defense

        Arch hereby adopts and incorporates by reference as if fully set forth herein any other

applicable affirmative defense raised in response to the Plaintiffs’ claims by any other defendant.

                                      Tenth Affirmative Defense

        The Complaint fails to state a claim for which relief can be granted.

                                    Eleventh Affirmative Defense

        Joy Global’s claims are barred to the extent that the attorneys’ fees and costs it allegedly

incurred in defense of the lawsuits listed in Paragraph 17, which Joy Global refers to in the

Complaint as the “Securities Claims,” were unreasonable, unnecessary or otherwise do not constitute

“Defense Costs,” as that term is defined in the Primary Policy.

                                    Twelfth Affirmative Defense

        Joy Global’s claims are barred to the extent that the amount paid to settle the lawsuits listed

in Paragraph 17, which Joy Global refers to in the Complaint as the “Securities Claims,” was

unreasonable.

                                   Thirteenth Affirmative Defense

        Joy Global’s claims are barred to the extent the settlement of any of the lawsuits listed in

Paragraph 17, which Joy Global refers to in the Complaint as the “Securities Claims,” was paid by

someone other than an “Insured” as defined in the Primary Policy.

                                   Fourteenth Affirmative Defense
            Case 2:18-cv-02034-LA
        Joy Global’s claims are barred orFiled 03/05/19
                                          limited          Pageof
                                                  by the defense 44unclean
                                                                    of 46 hands.
                                                                           Document 8
                                      Fifteenth Affirmative Defense

        Joy Global is not entitled to recover based on the allegations in the Complaint to the extent

that Joy Global’s own actions or the actions of third parties were the sole cause of or contributed to

Joy Global’s damages, if any.

                                      Sixteenth Affirmative Defense

        Joy Global is not entitled to recover based on the allegations in the Complaint to the extent

Joy Global has failed to mitigate damages, if any.

                                     Seventeenth Affirmative Defense

        Arch reserves the right to assert affirmatively any other matter that constitutes an avoidance

or affirmative defense under applicable law and rules.

                                     RESERVATION OF RIGHTS

        The Policy contains terms, conditions, and exclusions that may be relevant. Nothing in this

Answer and Affirmative Defenses should be construed as a waiver by Arch of any rights, remedies

or defenses. Arch continues to reserve all rights, remedies and defenses and waives none.

        WHEREFORE, Arch prays that the Court enter judgment in its favor, and against Joy

Global, and award Arch all relief that this Court deems just and equitable.

                                              Jury Demand

        Arch demands a trial by jury.

Dated this 5th day of March, 2019.

                                                      Respectfully submitted,

                                                      BATESCAREY LLP


                                                      By: /s/ Michael T. Skoglund________________


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                        CERTIFICATE OF SERVICE

       I hereby certify that on March 5, 2019, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system

which will send notification of such filing to the plaintiff, and I hereby certify

that I caused the foregoing document or paper to be served via electronic mail

to the parties listed below. I certify under penalty of perjury under the laws of

the United States of America that the foregoing is true and correct.



Executed on March 5, 2019                      /s/ Michael T.Skoglund
                                               Michael T. Skoglund

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